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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             SPARTANBURG DIVISION

United States of America         )               CR/A No. 7:18-cr-00853-DCC-1
                                 )
     v.                          )
                                 )               OPINION AND ORDER
Marcus Terrell Spencer.          )
                                 )
________________________________ )


      This matter comes before the Court on Defendant’s Pro Se Motion for

Compassionate Release/Reduction and counseled Memorandum in Support thereof,

seeking reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). ECF Nos. 95,

99. The Government filed a Response in Opposition. ECF No. 100. At the Court’s

instruction, Mr. Spencer filed additional supplemental information. ECF No. 102. For the

reasons that follow, the Motion is denied.

                                    BACKGROUND

      Mr. Spencer pled guilty on May 15, 2019, to distribution and possession with intent

to distribute a quantity of a mixture or substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). ECF No. 54.

On August 8, 2019, he was sentenced to 151 months of imprisonment and three years of

supervised release. ECF No. 66.

      Mr. Spencer filed his pro se Motion for Compassionate Release on February 16,

2021. ECF No. 95. The Court appointed counsel on the same day. ECF No. 96.

Following briefing by the parties, the Motion is now before the Court.




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                                     APPLICABLE LAW

       As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A)(i) permits

modification of a term of imprisonment upon motion of the defendant after exhaustion of

the defendant’s administrative remedies.           If “extraordinary and compelling reasons

warrant such a reduction” and the reduction “is consistent with applicable policy

statements issued by the Sentencing Commission,”1 the court may reduce a defendant’s

term of imprisonment and may impose a term of probation or supervised release that

does not exceed the unserved portion of the original term of imprisonment. Id. The

statute further instructs the court to “consider[] the factors set forth in [18 U.S.C. § 3553(a)]

to the extent that they are applicable.” Id.; United States v. Kibble, 992 F.3d 326, 331

(4th Cir. 2021) (“a district court may not grant a sentence reduction under 18 U.S.C.

§ 3582(c)(1)(A)” without considering the § 3553(a) factors). Therefore, in order to grant

compassionate release pursuant to § 3582(c)(1)(A)(i), the district court must (1) find that

“extraordinary and compelling reasons” warrant a reduction in the prisoner’s sentence,

and (2) consider the applicable § 3553(a) factors in light of the prisoner’s extraordinary

circumstances.2 Kibble, 992 F.3d at 330, 332.




       1
         Although U.S.S.G. § 1B1.13(1)(A) is entitled “Reduction in Term of Imprisonment
Under 18 U.S.C. § 3582(c)(1)(A),” by its terms it addresses only those requests brought
“[u]pon motion of the Director of the Bureau of Prisons.” It is therefore inapplicable to
compassionate release motions filed by defendants pursuant to § 3582(c)(1)(A)(i). United
States v. Kibble, 992 F.3d 326, 331 (4th Cir. 2021) (citing United States v. McCoy, 981
F.3d 271, 281 (4th Cir. 2020)). Because no applicable sentencing guideline exists,
“§ 3582(c)(1)(A)’s consistency requirement does not constrain the discretion of district
courts.” Id.
       2
        Because the statute “does not specify what conclusion a district court must draw
from the § 3553(a) factors in order to grant a motion for compassionate release,” the
Fourth Circuit has understood this language “as providing district courts with procedural
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                                         DISCUSSION

Exhaustion

       The First Step Act requires defendants to exhaust their administrative remedies

before moving the Court for compassionate release. See 18 U.S.C. § 3582(c)(1)(A). To

satisfy the exhaustion requirement, “incarcerated persons must first ask the [Bureau of

Prisons (“BOP”)] to file a motion for compassionate release on their behalf, and then,

either (1) appeal the BOP’s failure to bring a motion on their behalf, or (2) allow 30 days

to lapse after making the request[.]” Kibble, 992 F.3d at 330 n.2.

       Mr. Spencer requested compassionate release from the BOP on December 28,

2020, and the Warden denied his request on January 4, 2021. ECF No. 99-3. The Court

therefore finds that Mr. Spencer properly exhausted his administrative remedies and

continues to the merits of his Motion.

Extraordinary and Compelling Reasons

       Mr. Spencer argues that extraordinary and compelling reasons warrant his early

release because (1) he previously contracted COVID-19 and is experiencing lingering

symptoms, and (2) he is at increased risk from COVID-19 due to his status as an African

American male.

       Courts in this district and elsewhere have found, particularly at the height of the

pandemic, that the COVID-19 pandemic may constitute an extraordinary and compelling

reason to reduce a defendant’s sentence in conjunction with specific risk factors such as

age or medical condition. See, e.g., United States v. Griggs, 462 F. Supp. 3d 610, 620




guardrails for exercising their discretion, not creating a substantive prerequisite to
compassionate release.” Kibble, 992 F.3d at 331 n.3.
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(D.S.C. 2020); United States v. Bing, CR/A No. 1:15-cr-0637-JMC-1, 2020 WL4043610,

at *6 (D.S.C. July 17, 2020). However, Mr. Spencer is 36 years old and there is no record

medical evidence that he suffers from relevant underlying health conditions that would

place him at increased risk from COVID-19.3 See ECF No. 100-2. For the reasons

outlined below, the Court finds no compelling and extraordinary reason to warrant Mr.

Spencer’s early release.

       First, the Court takes notice of waning COVID-19 case numbers and revised CDC

guidelines, as well as the loosening of restrictions by public bodies across the country.

See COVID Data Tracker Weekly Review, https://www.cdc.gov/coronavirus/2019-

ncov/covid-data/covidview/index.html (last updated May 28, 2021). In the absence of

evidence suggesting a particular risk of infection at the facility where a defendant is

housed, the overall reduction in cases may indicate that the COVID-19 pandemic no

longer constitutes an exceptional and compelling reason for compassionate release even

in conjunction with underlying medical conditions.

       Second, the fact that Mr. Spencer has already contracted (and recovered from)

COVID-19 is not a sufficient justification for his early release. In fact, there is evidence

to indicate that persons who have previously contracted COVID-19 are at significantly




       3
         Mr. Spencer’s pro se Motion appears to allege that he suffers from asthma. ECF
No. 2. The Centers for Disease Control and Prevention (“CDC”) have identified moderate
to severe asthma as a condition that “can make you more likely to get severely ill from
COVID-19.”         See COVID-19, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (last updated May 13, 2021). However, Mr. Spencer’s alleged
asthma is not reflected in any of the medical records that have been provided to the Court.
Moreover, even assuming that Mr. Spencer does suffer from moderate to severe asthma,
the undersigned would reach the same determination based on the currently low rates of
infection as well as his vaccinated status, as explained below.
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decreased risk of repeat infection.      See      SARS-CoV-2 Antibodies Protect from

Reinfection, National Institutes of Health, https://www.nih.gov/news-events/nih-research-

matters/sars-cov-2-antibodies-protect-reinfection (Mar. 2, 2021) (“People with SARS-

CoV-2 antibodies, a sign of prior infection, were much less likely to test positive for

COVID-19 in the following months.”). BOP Health Services records indicate that Mr.

Spencer “remain[ed] asymptomatic” throughout his quarantine period and was therefore

released from isolation and returned in general population on November 9, 2020. ECF

Nos. 99-5, 100-1. Although Mr. Spencer complains of lingering effects following his

recovery from COVID-19, specifically chest discomfort, fatigue, and shortness of breath,

the record reflects that he is receiving timely and appropriate care including “up to date

labs and baseline studies.” ECF No. 102-2 at 3. Nothing suggests that Mr. Spencer’s

lingering side effects place him at greater risk of severe illness from COVID-19 in the

future.

          Third, Mr. Spencer has received both doses of the Pfizer-BioNTech vaccine

against COVID-19. See ECF No. 102-3. The efficacy of this vaccine against confirmed

COVID-19 in individuals of Mr. Spencer’s age group (16 to 55 years) has been estimated

at 95.6%.      See Pfizer-BioNTech COVID-19 Vaccine Emergency Use Authorization

Review       Memorandum,      Food     and       Drug   Administration,    available    at

https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-

covid-19/pfizer-biontech-covid-19-vaccine (Dec. 11, 2020). In light of Mr. Spencer’s fully

vaccinated status and prior exposure, the Court does not find that the COVID-19

pandemic constitutes an extraordinary and compelling reason for his early release. See,

e.g., United States v. Burks, 2021 WL 1394857, at * 3–4 (W.D.N.C. Apr. 13, 2021) (finding



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no extraordinary and compelling reason for early release based on COVID-19 risk factors

because the defendant had received both doses of an effective vaccine).

       Fourth, the Court notes that United States Penitentiary, Lee, the facility at which

Mr. Spencer is housed, currently reports zero COVID-19 infections among its 1,274

inmates   and      zero   cases   among   its       staff.      See   COVID-19    Cases,   BOP,

https://www.bop.gov/coronavirus (last accessed June 7, 2021). This level of infection

does not reflect a significant risk to Mr. Spencer, particularly since he has received both

doses of a highly effective vaccine.

       Finally, the Court is unconvinced by Mr. Spencer’s argument that his status as an

African American male places him at higher risk from COVID-19 and therefore justifies

compassionate release. Although these factors may place him at slightly higher statistical

risk from COVID-19, they quite simply do not constitute “extraordinary and compelling”

circumstances within the meaning of the statute. Indeed, in light of his fully vaccinated

status and prior exposure, Mr. Spencer’s present risk appears very low.

       After careful consideration of Mr. Spencer’s medical record, therefore, the Court

finds that the overall circumstances do not constitute an extraordinary and compelling

reason warranting his early release.

                                       CONCLUSION

       For the reasons set forth above, Defendant’s Motion for Compassionate

Release/Reduction [95] is DENIED WITHOUT PREJUDICE. Mr. Spencer is free to file a

renewed motion in the event of a material change in circumstances warranting a reduction

of his sentence.

       IT IS SO ORDERED.



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                                                   s/ Donald C. Coggins, Jr.
                                                   United States District Judge
June 7, 2021
Spartanburg, South Carolina




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